Case 1:25-cv-00548-ERK-RML           Document 1      Filed 01/31/25     Page 1 of 15 PageID #: 1




 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ______________________________________________________________________________

 RYAN KING                                                  CASE NO.

                 Plaintiff,

         vs.

 EQUIFAX INFORMATION SERVICES,                              TRANS UNION, LLC’S
 LLC, EXPERIAN INFORMATION                                  NOTICE OF REMOVAL
 SOLUTIONS, INC., and TRANS UNION, LLC,

             Defendants.
 ______________________________________________________________________________


         Pursuant to 28 U.S.C. §§ 1331, 1441, and 1446, Defendant Trans Union, LLC

 (“TransUnion”) hereby removes the subject action from the Supreme Court of the State of New

 York, County of Kings to the United States District Court for the Eastern District of New York on

 the following grounds:

         1.      Plaintiff Ryan King (“King”) is a natural person who resides in New York.

         2.      Defendant TransUnion is a Delaware corporation with its principal place of

 business in Illinois.


                                       NATURE OF CASE

         3.      On January 2, 2025, King commenced this action in the Supreme Court of the State

 of New York, County of Kings, entitled Ryan King v. Equifax Information Services, LLC., et al.,

 Index Number 50054/2025 via a Summons with Notice. A true and correct copy of the Summons

 with Notice is attached hereto as Exhibit A.
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          4.    On January 2, 2025, King served TransUnion with a Summons with Notice filed in

 Supreme Court of the State of New York, County of Kings, Index Number 50054/2025. See Ex.

 A. No other process, pleadings, or orders have been served on TransUnion.

          5.    King makes claims under and alleges that TransUnion violated the Fair Credit

 Reporting Act, 15 U.S.C. § 1681 et seq. (the “FCRA”) and General Business Law, 15 U.S.C.

 § 380-j(e) et seq. (the “GBL”). See Ex. A.

          6.    This Court has original jurisdiction over the subject action pursuant to 28 U.S.C.

 § 1331 since there is a federal question. As alleged, this suit falls within the FCRA which thus

 supplies this federal question.

          7.    Pursuant to 28 U.S.C. § 1441, et seq., this cause may be removed from the Supreme

 Court of the State of New York, County of Kings, to the United States District Court for the Eastern

 District of New York.

          8.    Removal is timely under 28 U.S.C. § 1446 because this Notice of Removal is filed

 within 30 days after TransUnion’s receipt of a copy of the Summons with Notice, filed in the

 Supreme Court of the State of New York, County of Kings.

          9.    Attached hereto as Exhibit B is a copy of TransUnion’s Notice of Filing Notice of

 Removal to be filed in the Supreme Court of the State of New York, County of Kings, Number

 50054/2025.

          10.   Counsel for Equifax Information Services, LLC and Experian Information

 Solutions, Inc. have consented to removal. Attached hereto as Exhibit C is a copy of the consent

 forms.

          11.   Notice of this Removal will promptly be filed with the Supreme Court of the State

 of New York, County of Kings and served upon all parties.




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        WHEREFORE, Defendant TransUnion, by counsel, removes the subject action from the

 Supreme Court of the State of New York, County of Kings to this United States District Court,

 Eastern District of New York.


 Date: January 31, 2025                       BUCHANAN INGERSOLL & ROONEY PC


                                               /s/ Andrew G. Hope_____
                                               Andrew G. Hope (NY Bar ID No. 4913547)
                                               Makenzie P. Leh, Esq. (Pro Hac Admission
                                               Forthcoming)
                                               640 5th Avenue, 9th Floor
                                               New York, New York 10019-6102
                                               215 665 5322 (o)
                                               Andrew.hope@bipc.com

                                               Counsel for Trans Union, LLC




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                                  CERTIFICATE OF SERVICE
        I hereby certify that on this 31st day of December 2024, I caused a copy of the foregoing

 Notice of Removal to be electronically filed with the Clerk via CM/ECF. Notice of this filing

 will be sent by email to all parties by operation of the court’s electronic filing systems and via

 United States First Class Mail. Parties may access the filing through the Court’s CM/ECF

 System.

 Dated: January 31, 2025                               /s/ Andrew G. Hope____
                                                         Andrew G. Hope
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                  EXHIBIT A
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                                                                                               INDEX NO. 500054/2025
FILED : KINGS COUNTY CLERK 01 02 2025 01:58 PMJ
NYSCEF DOC. NO. 1                                                                      RECEIVED NYSCEF: 01/02/2025




         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF KINGS

          RYAN KING,

                                     Plaintiff,
                                                                SUMMONS WITH NOTICE
                      -against-

          EQUIFAX INFORMATION SERVICES, LLC,
          EXPERIAN INFORMATION SOLUTIONS,
          INC., and TRANS UNION. LLC.

                                    Defendants.


         To the Entities Named as Defendants Above:

                  PLEASE TAKE NOTICE THAT YOU ARE HEREBY SUMMONED to appear in
         this action by serving notice of appearance on the Plaintiff at the address of Plaintiff's counsel,
         via the NYSCEF system, within 20 days after the service of this Summons (not counting the day
         of service itself), or within 30 days after service is complete if the summons is not delivered
         personally to you within the State of New York.

               YOU ARE HEREBY NOTIFIED THAT should you fail to answer or appear, a
         judgment will be entered against you by default for the relief demanded below.

          Dated: January 2, 2025                        /s/Adam G. Singer
                 New York, NY                           Adam G. Singer
                                                        LAW OFFICE OF ADAM G. SINGER, PLLC
                                                        One Grand Central Place
                                                        60 E. 42nd Street, Suite 4600
                                                        New York, NY 10165
                                                        212.842.2428
                                                        asinger@adamsingerlaw.com

                                                        Counselfor Plaintiff Ryan King


         Defendants' Addresses:
         Equifax Information Services, LLC, 1550 Peachtree Street, N.W., Atlanta, Georgia 30309
         Experian Information Solutions, Inc., 475 Anton Boulevard, Costa Mesa, CA 92626
         Trans Union, LLC, 555 W. Adams St., Chicago, IL 60661




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FILED : KINGS COUNTY CLERK 01 02 2025 01 : 58 PM
NYSCEF DOC. NO. 1                                                                        RECEIVED NYSCEF: 01/02/2025




         Notice: The nature of this action is:
                Defendants Experian Information Solutions, Inc., Equifax Information Services, LLC,
         and Trans Union LLC, (together, the "CRA Defendants") violated the law including the
         following provisions:

                    •   15 U.S.C. § 1681c-2 relating to identity theft
                    •   15 U.S.C. § 1681e (b)
                    •   15 U.S.C. § 1681i
                    •   General Business Law § 380-f
                    •   General Business Law § 380-j

                Those violations include the following conduct by one or more of the CRA Defendants:

            •   maintaining in and reporting from the credit file they maintained about Plaintiff
                information they had reason to lcnow was inaccurate;
            •   failing to maintain reasonable procedures to assure the maximum possible accuracy of
                information they reported about Plaintiff;
            •   failing to conduct reasonable investigations after Plaintiff disputed certain information in
                credit reports they published about him;
            •   failing to promptly delete disputed information from credit files they maintained about
                Plaintiff despite the fact that, had they conducted reasonable investigations of Plaintiff's
                disputes, they could not have affirmatively verified that the disputed information was
                accurate; and
            •   failing to block the reporting of information in Plaintiff's file that Plaintiff identified as
                having resulted from identity theft.

                As a consequence of the CRA Defendants' violations, Plaintiff has suffered pecuniary
         and non-pecuniary harm.

                The relief sought is:
            •   Actual damages for both economic and emotional harm in an amount exceeding $25,000
                and to be determined by the trier of fact,
            •   $1,000 in statutory damages per violation,
            •   punitive damages in an amount to be determined by the trier of fact,
            •   injunctive relief against reporting or continuing to report the inaccurate information,
            •   litigation costs and expenses, and
            •   reasonable attorney's fees.

                Should the CRA Defendants fail to appear herein, judgment will be entered by default for
         the sum of $3,000,000.00, with interest to run from January 2, 2025.

                Jury Trial: Plaintiff demands a jury trial on all issues so triable.

                Venue: Plaintiff designates Kings County as the place of trial. The basis of this
         designation is that Plaintiff resides in Kings County at 1091 Gates Avenue, Apartment 2E,
         Brooklyn, NY 11221.

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SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF KINGS
---------------------------------------------------------------- -x
 RYAN KING,
                                           Plaintiff,
            -against-
 EQUIFAX INFORMATION SERVICES, LLC,                                        Index No. 500054/2025
 EXPERIAN INFORMATION SOLUTIONS,
 INC., and TRANS UNION, LLC,
                                            Defendant.
---------------------------------------------------------------- -x
                                        NOTICE OF ELECTRONIC FILING
                                              (Mandatory Case)
                                           (Uniform Rule § 202.5-bb)

         You have received this Notice because:

                  1)The Plaintiff/Petitioner, whose name is listed above, has filed this case using the
                  New York State Courts E-filing system ("NYSCEF"), and

                  2) You are a Defendant/Respondent (a party) in this case.

          • If you are represented by an attorney:
            Give this Notice to your attorney. (Attorneys: see "Information for Attorneys" pg. 2).

          • If you are not represented by an attorney:
            You will be served with all documents in paper and you must serve and file your
            documents in paper, unless you choose to participate in e-filing.

            If you choose to participate in e-filing, you must have access to a computer and a
           scanner or other device to convert documents into electronic format, a connection
           to the internet, and an e-mail address to receive service of documents.

           The benefits of participating in e-filing include:

                           • serving and filing your documents electronically

                           • free access to view and print your e-filed documents

                           • limiting your number of trips to the courthouse

                           • paying any court fees on-line (credit card needed)

         To register for e-filing or for more information about how e-filingworks.

         • visit: www.nycourts.gov/efile-unrepresented or
         • contact the Clerk's Office or Help Center at the court where the case was filed. Court
           contact information can be found at www.nycourts.gov

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      To find legal information to help you represent yourself visit www.nycourthelp.qov

                                    Information for Attorneys
                             (E-filing is Mandatory for Attorneys)

      An attorney representing a party who is served with this notice must either:

             1) immediately record his or her representation within the e-filed matter on the
             NYSCEF site www.nycourts.gov/efile ; or

             2) file the Notice of Opt-Out form with the clerk of the court where this action is
             pending and serve on all parties. Exemptions from mandatory e-filing are limited to
             attorneys who certify in good faith that they lack the corrmputer hardware and/or
             scanner and/or internet connection or that they lack (along with all employees subject
             to their direction) the knowledge to operate such equipment. [Section 202.5-bb(e)]

      For additional information about electronic filing and to create a NYSCEF account, visit the
      NYSCEF website at www.nycourts.gov/efile or contact the NYSCEF Resource Center
      (phone: 646-386-3033; e-m ail: nyscef@courts.gov).


Dated: January 2, 2025



           Name                                                     Address
       Adam G. Singer                                       One Grand Central Place
                                                            60 E. 42nd Street, Suite 4600
             Firm Name                                      New York, NY 10165
 Law Office of Adam G. Singer, PLLC

                                                                    Phone
                                                                 212.842.2428

                                                                     E-Mail
                                                         documents@adamsingerlaw.com

To: Trans Union, LLC,
    555 W. Adams Street
    Chicago, IL 60661




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                      SUPREME COURT OF THE STATE OF NEW YORK
                                 COUNTY OF KINGS

  RYAN KING,

                 Plaintiff,

         vs.
                                                   Index No. 50054/2025
  EQUIFAX INFORMATION SERVICES,
  LLC, EXPERIAN INFORMATION
  SOLUTIONS, INC., and TRANS UNION,
  LLC,

                 Defendants.

 ______________________________________________________________________________

                   NOTICE OF FILING NOTICE OF REMOVAL
                  WITH THE UNITED STATES DISTRICT COURT
 ______________________________________________________________________________

        Please take notice that Defendant Trans Union, LLC has filed the attached Notice of

 Removal with the Clerk of the United States District Court for the Eastern District of New York

 on January 31, 2025. A true and correct copy of the Notice of Removal filed with the United States

 District Court Eastern District of New York is attached hereto as Exhibit A.


 Date: January 31, 2025                       BUCHANAN INGERSOLL & ROONEY PC

                                                  /s/ Andrew G. Hope_____
                                                  Andrew G. Hope (NY Bar ID No. 4913547)
                                                  640 5th Avenue, 9th Floor
                                                  New York, New York 10019-6102
                                                  215 665 5322 (o)
                                                  Andrew.hope@bipc.com

                                                  Counsel for Trans Union, LLC
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                                   CERTIFICATE OF SERVICE
         I hereby certify that on this 31st day of January 2025, I caused a copy of the foregoing

 Notice of Filing Notice of Removal to be electronically filed with the Clerk via CM/ECF. Notice

 of this filing will be sent by email to all parties by operation of the court’s electronic filing systems

 and via United States First Class Mail. Parties may access the filing through the Court’s CM/ECF

 System.

 Dated: January 31, 2025                                 /s/ Andrew G. Hope____
                                                           Andrew G. Hope
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                  EXHIBIT C
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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF NEW YORK
 ______________________________________________________________________________

 RYAN KING                                  CASE NO.

               Plaintiff,

        vs.

 EQUIFAX INFORMATION SERVICES,
 LLC, EXPERIAN INFORMATION
 SOLUTIONS, INC. and TRANS UNION,
 LLC,

             Defendants.
 ______________________________________________________________________________


                  DEFENDANT EXPERIAN’S CONSENT TO REMOVAL

        Without waiving any of its defenses or other rights, Defendant Experian Information

 Solutions, Inc., hereby acknowledges its consent to the removal of this action from the Supreme

 Court of the State of New York, County of Kings to the Eastern District of New York.



 Date: 01/24/2025                                   Respectfully submitted,

                                                    _____________________
                                                    Kim A. Purcell, Esquire
                                                    Kim.purcell@experian.com

                                                    Representative for Defendant, Experian
                                                    Information Solutions, Inc.
